Case 2:02-CV-02556-SHI\/|-STA Document 120 Filed 06/07/05 Page 1 of 3 Page|D 140

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IN THE UNITED sTATEs DISTRICT coURT 05 (“'
FoR THE wEsTERN DISTRICT oF TENNESSEE JUN *7 ph h_ 2
wEsTERN DIVISION H ' 7
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MARK J. cHIDEsTER, ' ‘*’TCMPI~:;S

Plaintiff,
v.
No. 02~2556 Ma/A
CITY OF MEMPHIS, et al.,

Defendants.

~_dv`./vv\.r\.¢`_¢\.u\_d

 

ORDER DISMISSING DEFENDANT A.C. GILLESS IN HIS PERSONAL CAPACITY
AND GRANTING DEFENDANT GILLESS’ MOTION TO DISMISS A.C. GILLESS IN
HIS OFFICIAL CAPACITY

 

Plaintiff Mark Chidester brings this action under 42 U.S.C. §
1983, alleging that Memphis and Shelby County police officers
violated his First, Fourth, Sixth, and Fourteenth.Amendment rights.
Chidester also brings state law claims of assault, intentional
infliction of emotional distress, and official misconduct.
Chidester’s amended complaint names a number of defendants
including Shelby' County' and. A.C. Gilless in his personal and
official capacities as Sheriff of Shelby County.

On December 2, 2004, a “Notice of Suggestion of Death of
Defendant A.C. Gilless” was filed by Defendant Shelby County.
During a status conference held on January 17, 2005, the court was
informed by Chidester's counsel that Chidester will not seek to

“bring in” the estate of A.C. Gilless. Accordingly, Chidester's

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with ama 53 and/or maj FRCP on 27a ',;§ 'O 5

 

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suit against Gilless in his personal capacity is DISMISSED.

On February 8, 2005, Gilless filed a “Motion to Dismiss A.C.
Gilless in his Official Capacity.” Chidester has not filed a
response. Official capacity suits “generally'represent only another
way of pleading an action against an entity of which an officer is
an agent.” Monell v. New York Citv Dept. of Social Services, 436
U.S. 658, 690 n. 55 (1978). “As long as the government entity
receives notice and an opportunity to respond, an official-capacity
suit is, in all respects other than name, to be treated as a suit
against the entity.” Kentuckv v. Graham, 473 U.S. 159, 165-166
(1985). Gilless was employed by Shelby County. Because Chidester's
suit names Shelby' County' as a Defendant, naming' Gilless as a
defendant in his official capacity is redundant. Chidester's suit

against Gilless in his official capacity is DISMISSED.

So ordered this ?J( day of June 2005.

y///H/L___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

UND11E` STATES D11R1C1 COURT - WESTERNDIST1C10F1151\1NESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 120 in
case 2:02-CV-02556 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

